                                  323 5TH STREET (95501)
                                         P.O. BOX 35
                                     EUREKA, CA 95502
                                         800-603-0836
                                      FAX (707) 443-1562
                                   8:00 a.m. - 5:00 p.m. PST
                                   Main Office NMLS #5985
                                  Branch Office NMLS #9785

APRIL 29, 2019

MARY J LITTLEJOHN
5444 W BEDROCK RD
BLOOMINGTON, IN 47403

           Para información en español llame al (800) 603-0836 ext 2643 o ext 2660

        YOU ARE HEREBY NOTIFIED THAT SN SERVICINGCORPORATION, ITS EMPLOYEES, AGENTS AND
  ATTORNEYS ARE ATTEMPTING TO COLLECT THIS DEBT. ANY INFORMATION THAT WE OBTAIN WILL BE
 USED FOR THAT PURPOSE. IF YOU HAVE PREVIOUSLY RECEIVED A DISCHARGE IN BANKRUPTCY AND THIS
DEBT WAS NOT REAFFIRMED, THIS CORRESPONDENCE IS NOT AND SHOULD NOT BE CONSTRUED TO BE AN
   ATTEMPT TO COLLECT SUCH A DEBT AS YOUR PERSONAL LIABILITY, BUT IS INSTEAD A STEP IN THE
                 ENFORCEMENT OF A MORTGAGE LIEN AGAINST YOUR PROPERTY.



Loan ID:
PROPER                     44 WEST BEDROCK ROAD; BLOOMINGTON, IN 47403


                      NOTICE OF NEW PAYMENT ADJUSTMENT

SN Servicing has performed a review on your loan and in accordance with the terms
of your Original ARM Note, your recent ARM Adjustment Notice dated December 20,
2018 has changed. Your loan is converting from Interest Only to Principal & Interest.

Effective with the June 01, 2019 payment, your new principal & interest payment is
$935.55 and the interest rate is 5.3750% which is based on an amortizing UPB of
$148,028.85 over 276 months and will continue to adjust in accordance with the
terms of the Original ARM Note.

Please continue to mail your payments as specified in your billing statement. If you
have any questions about this notice, you can contact us at the number below.

SN Servicing Corporation
Toll Free: (800) 603-0836
                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 In Re:                                            Case No. 17-03305-JMC-13

 Mary Joanne Littlejohn
  aka Mary Jo Littlejohn
  fka Mary Joanne Brown                            Chapter 13
  fka Mary Joanne Frye
  fka Mary Joanne Bray

 Debtor.                                           Judge James M. Carr

                                 CERTIFICATE OF SERVICE

I certify that on May 8, 2019, a copy of the foregoing Notice of Mortgage Payment Change was
filed electronically. Notice of this filing will be sent to the following party/parties through the
Court’s ECF System. Party/parties may access this filing through the Court’s system:

          Joseph A. Ross, Debtor’s Counsel
          rossfiling@RossLawOffice.com

          Ann M. DeLaney, Trustee
          ECFdelaney@trustee13.com

          Office of the U.S. Trustee
          ustpregion10.in.ecf@usdoj.gov

I further certify that on May 8, 2019, a copy of the foregoing Notice of Mortgage Payment
Change was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
following:
Mary Joanne Littlejohn, Debtor
5444 West Bedrock Road
Bloomington, IN 47403

                                 Respectfully Submitted,

                                 /s/ Molly Slutsky Simons
                                 Molly Slutsky Simons (OH 0083702)
                                 Sottile & Barile, Attorneys at Law
                                 P.O. Box 476
                                 Loveland, OH 45140
                                 Phone: 513.444.4100
                                 Email: bankruptcy@sottileandbarile.com
                                 Attorney for Creditor
